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  8                          UNITED STATES DISTRICT COURT
  9                      SOUTHERN DISTRICT OF CALIFORNIA
 10                         (HONORABLE WILLIAM Q. HAYES)
 11

 12   UNITED STATES OF AMERICA, )                Case No. 16CR1996-WQH
                                )
 13             Plaintiff,      )
                                )
 14   v.                        )
                                )
 15                             )                JOINT MOTION TO CONTINUE
      CESAR YANEZ RUIZ (23),    )                SENTENCING HEARING
 16                             )
                Defendant.      )
 17
             IT IS HEREBY STIPULATED AND AGREED BETWEEN THE
 18
      PARTIES that the sentencing hearing in the above-mentioned case currently set for
 19
      June 29, 2020 be continued to approximately the end of September 2020. The
 20
      parties are attempting to complete required sentencing-related tasks which have
 21
      been delayed due to the pandemic. Mr. Ruiz is in custody, and other co-defendants
 22
      are yet to resolve their matters.
 23
             SO STIPULATED.
 24
      Dated: June 24, 2020                       /s/ Mayra L. Garcia
 25                                              MAYRA L. GARCIA
                                                 Attorney for Defendant Ruiz
 26

 27   Dated: June 24, 2020                       /s/Kyle Martin
                                                 KYLE MARTIN
 28                                              Assistant United States Attorney
